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UNITED STATES DISTRICT COUR1
SOUTHERN DISTRICT OF NEW YORK


GRAHAM CHASE ROBINSON,                                     Case No.: 1 : 19-cv-091 56 (LTSXKI-IP)

                             Plaintffi
       - against -
                                                            ANSWER
ROBERT DE NIRO and
CANAL PRODUCTIONS, fNC.,

                            Defendants


       Defendants Robert De Niro and Canal Productions, Inc., by their attorneys, Traub

Lieberman Straus and Shrewsberry, LLP, submit their Answer to Plaintiff Graham Chase

Robinson's ("Complaint") as set forth below. Any allegation not explicitly admitted is denied.

Headings contained in the Cornplaint are not substantive allegations to which an answer is required

and to the extent the headings are repeated in the Answer, it is solely for reference purposes. To

the extent any allegations herein are not answered and it is determined that an answer was required,

Defendants deny the allegations.

       I.      OVERVIEW

        1.     Deny knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in paragraph "1" of the Complaint.

       2.      Deny the allegations set forth in paragraph"2" of the Complaint, except admits that

plaintiff began working for De Niro as an Executive Assistant in 2008 and deny knowledge or

information sufficient to form a belief as to her age and her hopes to build a career in the

entertainment industry.

        3.     Deny the allegations set forth in paragtaph "3" of the Complaint.

        4.     Deny the allegations set forth in patagraph "4" of the Complaint.
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       5.        Deny the allegations set forth in paragraph "5" of the Complaint, except deny

knowledge or information sufficient to form a belief as to plaintiff s motivations.

       II.       SUMMARY

       6.        Deny knowledge or information sufficient to form a belief as to the truth of the

allegations set forth in paragraph(c6" of the Complaint.

       I.        Deny the allegations set forth in paragraph "T" of the Complaint.

        8.       Deny the allegations set forth in paragraph "8" of the Complaint.

       9.        Deny the allegations set forth in paragraph "9" of the Complaint.

        10.      Deny the allegations set forth in paragtaph "l0" of the Complaint.

        1   1.   Deny the allegations set forth in paragraph "1 1" of the Complaint'

        III      THE PARTIES

        12. Deny the allegations set forth in paragraph "I2" of the Complaint, except admit that
plaintiff was employed by Canal Productions, Inc. from February 4,2018 until April 6,2019.

        13.      Admit the allegations set forth in paragraph "l3" of the Complaint only insofar as

Canal is a company owned by Mr. De Niro that is headquartered in Manhattan, and otherwise deny

knowledge or information sufficient to form a belief as to the use of the term "controlled."

        14.      Admit the allegations set forth in paragraph"l4" of the Complaint.

        IV.      JURISDICTION AND VENUE

        15.      The allegations set forth in paragraph "15" of the Complaint characterize the

lawsuit and constitute conclusions of law to which Defendants make no answer save to demand

strict proof thereof, and respectfully refer all questions of law to this Honorable Court. To the

extent any response is required, Defendants deny any conduct that forms the basis of the claims




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set forth herein, and deny that there were any unlawful employment practices or other actions that

form the basis of a viable claim against Defendants.

        16.     The allegations set forth in paragraph "16" of the Complaint characterize the

lawsuit and constitute conclusions of law to which Defendants make no answer save to demand

strict proof thereof, and respectfully refer all questions of law to this Honorable Court. To the

extent any response is required, Defendants deny any conduct that forms the basis of the claims

set forth herein, and deny that there were any unlawful employment practices or other actions that

form the basis of a viable claim against Defendants.

        V.      FACTUAL AL

        17.     Deny the allegations set forth in paragraph "lT" of the Complaint.

        18.     Deny the allegations set forth in paragraph "18" of the Complaint, except admit that

Plaintiff held the position of Executive Assistant until April 2071, Director of Productions from

April 201 I until December 2017 , and Vice President of Production and Finance in December 2017

until she resigned.

        i9.     Deny the allegations set forlh in paragraph "l9" of the Complaint.

        20.     Deny the allegations set forth in paragraph"Z}" of the Complaint.

        21.     Deny the allegations set forth in paragraph "21" of the Complaint.

        22.     Deny the allegations set forth in parugraph"22" of the Complaint.

        23.     Deny the allegations set forth in paragraph"23" of the Complaint.

        24.     Deny the allegations set forth in paragraph "24" of the Complaint.

        25.     Deny the allegations set forth in parugraph"21" of the Complaint.

        26.     Deny the allegations set forth in paragraph "26" of the Complaint, except admit that

De Niro left a voicemail for Plaintiff after she failed to perform her job duties wherein he used

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terms contained in paragraph "26", and respectfully refer the Court to such recording as best

evidence of same.

       27.    Deny the allegations set forth in paragraph "27" of the Complaint.

       28.    Deny the allegations set forlh in paragraph "28" of the Complaint.

       29.    Deny the allegations set forth in paragraph "29" of the Complaint.

       30.     Deny the allegations set forth in paragraph "30" of the Complaint.

       31.     Deny the allegations set forlh in paragraph "31" of the Complaint.

       32.     Deny the allegations set forth in paragraph"32" of the Complaint.

       33.     Deny the allegations set forth in paragraph "33" of the Complaint.

       34.     Deny the allegations set forth in paragraph "34" of the Complaint.

       35.     Deny the allegations set forth in paragraph "35" of the Complaint.

       36.     Deny the allegations set forth in paragraph "36" of the Complaint.

       37.     Deny the allegations set forth in paragraph"37" of the Complaint.

       38.     Deny the allegations set forth in paragraph "38" of the Complaint, except admit that

Plaintiff requested a letter of recommendation from De Niro after her departure and prepared a

draft letter which she wanted him to sign.

       39.     Deny the allegations set forth in paragraph "39" of the Complaint.

       40.     Deny the allegations set forth in paragraph "40" of the Complaint.

       4L      Deny the allegations set forth in paragraph "41" of the Complaint.

       42.     Deny the context and timeline regarding Plaintiff s claims of allegedly wrongful

conduct, but admit the existence of the July 3I,2019 email set forth in paragraph"42" of the

Complaint, which email asserted purporled claims of sex discrimination, sex stereotyping, hostile

work environment and retaliation, and fuither state that such allegations were made only after

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Plaintiff had been accused of misconduct. Defendants respectfully refer the Court to the July 31,

2019 ematl and all the emails that preceded and followed, for a more accurate recitation of the

communications among the various parties.

        43.     Deny the characterization of the referenced email set forth in paragraph"43" of the

Complaint, but admit the existence of the August 2,2019 email, which also contained veiled threats

that if Plaintiff s demands were not met, she would publicly disclose information of a personal

nature regarding De Niro, and respectfully refer the Court to the August 2,2019 email and all the

emails that preceded and followed, for a more accurate recitation of the communications among

the various parties.

        44.     Deny the charactertzationof the referenced email set forth in paragraph'(44" of the

Complaint, but admit the existence of the August 13, 2019 email, which also contained a

suggestion that if Plaintiff s demands were not met, she may have to write a memoir containing

information of a personal nature about De Niro, and respectfully refer the Court to the August 13,

2079 emall and all the emails that preceded and followed, for a more accurate recitation of the

communications among the various parlies.

        45.     Deny the allegations set forth in paragraph"4l" of the Complaint, except admit that

Plaintiff is a defendant in a lawsuit pending in the Supreme Court, State ofNew York, commenced

by Canal Productions, Inc., Index No. 65471I12019 on August 11,2019.

        46.     Deny the allegations set forth in paragraph"46" of the Complaint.

        47.     Deny the allegations set forlh inparagraph"4T" of the Complaint.

        48.     Deny the allegations set forth in parugraph "48" of the Complaint.

        49.     Deny the allegations set forlh in paragraph "49" of the Complaint.




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                                           COUNT ONE

        50. In response to the allegations set forth in paragraph "50" of the Complaint,
Defendants repeat and reallege the responses to paragraphs "l" through"49" of the Complaint as

if fully set forth herein.

        51.      The allegations set forth in paragraph"5l" of the Complaint constitute conclusions

of law to which Defendants make no answer save to demand strict proof thereof, and respectfully

refer all questions of law to this Honorable Court. Defendants admit that Plaintiff was a female

employee of Canal Productions, Inc.

         52.     The allegations set forth in paragraph"52" of the Complaint constitute conclusions

of law to which Defendants make no answer save to demand strict proof thereof, and respectfully

refer all questions of law to this Honorable Cour1. Defendants admit that De Niro was Plaintiff s

supervisor and an owner of Canal Productions, Inc.

        53.      Deny the allegations set forth in patagraph "53" of the Complaint.

         54.     Deny the allegations set forth in paragtaph "54" of the Complaint.

        55.      Deny the allegations set forth in paragraph "55" of the Complaint.

         56.     Deny the allegations set forlh in patagraph "56" of the Complaint.

        57   .   Deny the allegations set forth in paragraph "57" of the Complaint.

        58.      Deny the allegations set forth in paragtaph "58" of the Complaint.

         59.     Deny the allegations set forth in paragraph "59" of the Complaint.

                                           COUNT TWO

        60. In response to the allegations set forth in paragraph "60" of the Complaint,
Defendants repeat and reallege the responses to paragraphs "l" throughu59" of the Complaint as

if fully set forth herein.

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       6I .      The allegations set forlh in paragraph "61" of the Complaint constitute conclusions

of law to which Defendants make no answer save to demand strict proof thereof, and respectfully

refer all questions of law to this Honorable Court. Defendants admit that Plaintiff was a female

employee of Canal Productions, Inc.

       62.       The allegations set forlh in parugraph"62" of the Complaint constitute conclusions

of law to which Defendants make no answer save to demand strict proof thereof, and respectfully

refer all questions of law to this Honorable Court. Defendants admit that De Niro was Plaintiff s

supervisor and an owner of Canal Productions, Inc.

        63.      Deny the allegations set forlh in paragraph "63" of the complaint.

        64.      Deny the allegations set forth in paragraph "64" of the complaint.

        65.      Deny the allegations set forlh in paragraph "65" of the Complaint.

        66.      Deny the allegations set forth in patagtaph"66" of the Complaint.

        67   .   Deny the allegations set forth in paragraph "6J" of the Complaint'

        68.      Deny the allegations set forth in paragraph "68" of the complaint.

        69. Deny the allegations set forlh in paragraph "69" ofthe Complaint.
        70.      Deny the allegations set forth in paragraph "70" of the complaint.

        7I .     Deny the allegations set forth in paragraph "7l" of the Complaint.

                                          COUNT THRFJ,F],

        72. In response to the allegations set forth in paragraph "72" of the Complaint,
Defendants repeat and reallege the responses to paragraphs "1" through"J1" of the Complaint as

if fully set forth herein.

        73.      The allegations set forth in paragraph "73" of the Complaint constitute conclusions

of law to which Defendants make no answer save to demand strict proof thereof, and respectfully


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refer all questions of law to this Honorable Court. Defendants admit that Plaintiff was employed

by Canal Productions Inc.

        74.      Deny the allegations set forth in paragraph "74" of the Complaint'

        75   .   Deny the allegations set forth in paragraph "T 5" of the Complaint.

        76.      Deny the allegations set forth in paragrap.h"76" of the Complaint.

        77.      Deny the allegations set forth in paragraph"77" of the Complaint.

                                          COUNT F'OIIR

        78. In response to the allegations set forlh in paragraph "78" of the Complaint,
Defendants repeat and reallege the responses to paragraphs "l" throughuTT" of the Complaint as

if fully set forth herein.

        79   .   The allegations set forth in paragraph "79" of the Complaint constitute conclusions

of law to which Defendants make no answer save to demand strict proof thereof, and respectfully

refer all questions of law to this Honorable Courl. Defendants admit that Plaintiff was employed

by Canal Productions, Inc.

        80.      Deny the allegations set forth in paragraph "80" of the Complaint.

        81.      Deny the allegations set forth in paragraph "81" of the complaint.

        82.      Deny the allegations set forth in paragraph "82" of the complaint.

        83.      Deny the allegations set forlh in paragraph "83" of the complaint.

                                           COUNT FIVE

        84. In response to the allegations set forth in paragraph "84" of the Complaint,
Defendants repeat and reallege the responses to paragraphs "l" through "83" of the Complaint as

if fully set forth herein.

        85.      The allegations set forth in paragraph "85" of the Complaint constitute conclusions


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of law to which Defendant makes no answer save to demand strict proof thereof, and respectfully

refer all questions of law to this Honorable Courl. Defendants admit that Plaintiff was employed

by Canal Productions, Inc.

        86.      Deny the allegations set forth in paragraph "86" of the Complaint.

        87.      Deny the allegations set forth in paragraph "87" of the Complaint.

        88.      Deny the allegations set forlh in paragraph "S8" of the Complaint.

        89.      Deny the allegations set forth in paragraph "89" of the Complaint.

                                            COUNT SIX

        90. In response to the allegations set forth in paragraph "90" of the Complaint,
Defendants repeat and reallege the responses to paragraphs "1" through "89" of the Complaint as

if fully set forlh herein.

        91.      The allegations set forth in paragraph"91" of the Complaint constitute conclusions

of law to which Defendants make no answer save to demand strict proof thereof, and respectfully

refer all questions of law to this Honorable Courl. Defendants admit that Plaintiff was employed

by Canal Productions, Inc.

        92.      Deny the allegations set forlh in paragraph "92" of the Complaint.

        93.      Deny the allegations set forth in parugtaph "93" of the Complaint.

        94.      Deny the allegations set forlh in paragraph "94" of the Complaint.

         95.     Deny the allegations set forth in paragraph "95" of the Complaint.

         96.     Deny the allegations set forth in paragraph "96" of the Complaint.

        97   .   Deny the allegations set forth in parugraph"97" of the Complaint.

                                          COUNT SEVEN

        98. In response to the allegations set forth in paragraph "98" of the Complaint,

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Defendants repeat and reallege the responses to paragraphs "1" through "97" of the Complaint as

if fully set forth herein.

        99.     The allegations set forth in paragraph "99" of the Complaint constitute conclusions

of law to which Defendants make no answer save to demand strict proof thereof, and respectfully

refer all questions of law to this Honorable Courl. Defendants admit that Plaintiff was employed

by Canal Productions, Inc.

        100. Deny the allegations set forth in paragraph"100" of the Complaint.
        101. Deny the allegations set forth in paragraph c(101" of the Complaint.
        I02. Deny the allegations set forlh in paragraph"I)2" of the Complaint.
        103. Deny the allegations set forth in paragraph "103" of the Complaint.
        104. Deny the allegations set forth in paragraph"7}4" of the Complaint.
        105. Deny the allegations set forth in paragraph "105" of the Complaint.
                                    PRAYER FOR RELIEF

        106. Deny that Plaintiff is entitled to the relief sought in the "WHEREFORE" clause of
the Complaint, and/or that Defendants engaged in any conduct that forms the basis of the claims

set forth herein.

                             AFFIRMATIVE AND OTHER DEFENSES

        Defendants assert the following defenses and affirmative defenses, as the latter are defined

in Rule 8(c) of the Federal Rules of Civil Procedure, without assuming any burden of proof that

otherwise does not exist as a matter of law.

                                AS AND FOR A             DF:,F'F],NSF],


         107. Defendants acted in good faith and with a reasonable belief that their practices
complied with federal and state law


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                             AS AND FOR A               ND DE,F'ENSE

       108. Defendants have a defense founded upon documentary evidence
                              AS AND FOR A THIRD DEFENSE

       109. Plaintiff may not recover liquidated damages because (i) Defendants acted
reasonably and in good faith, had reasonable grounds for believing that their acts were not a

violation of the Fair Labor Standards Act andlor New York Labor Law and did not commit any

willful violation of any of the provisions of the Fair Labor Standards Act or New York Labor Law;

(ii) Defendants did not authorize or ratify any willful violation with respect to the Plaintiff; and

(iii) Plaintiff has failed to plead facts sufficient to support recovery of such damages.

                             AS AND FOR A           I]RTH DEFENSE

        110. Plaintifls claims are barred in whole or in part because Defendants made complete
and timely payment of all wages due in accordance with the FLSA and New York law

                               AS AND FOR A                DEF'ENSE

        111. Plaintiffls claims are barred, in whole or in part, by the equitable doctrines of
estoppel, unclean hands, laches and/or walver

                               AS AND FOR A IXTH DEFENSE,

        II2. If Plaintiff succeeds in establishing any violation under the Fair Labor Standards
Act or the New York Labor Law, and to the extent any sums are found due and owing to Plaintiff,

Defendants are entitled to a set-off against said sum to the extent paid, tendered, waived,

compromised, and/or released prior to the adjudication herein, including but not limited to those

amounts paid, tendered, waived, compromised, and/or released through any other proceeding,

either fbrmal or informal, or to the extent any additional compensation was paid to Plaintiff over

and above her wages.


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                                  AS AND FOR A SEVENTH DEFENSE

           113. Any claim fol additional compensation by Plaintiff must be reduced by
compensation already paid to the Plaintiff for periods not compensable under the Fair Labor

Standards Act and the New York Labor Law.

                                  AS AND FOR AN         IGHTH DEFF],NSF],

           ll4. Plaintifls claims are barred in whole or in parl by the applicable statutes of
limitations including the FLSA/Equal Pay Act (2 years and 3 years for willful violations), the New

York Labor Law (6 years), the New York City and New York State Human Rights Laws (3 years).

                                    AS AND FOR A NINTH DEFENSE

           115. Plaintiffs claims are barred in whole or in part because Plaintiff has failed to
mitigate her damages

                                   AS AND FOR A                 DEFENSE

           1   16. Plaintiff s claims are barred or should be reduced, in whole or in part, by exclusions,
exceptions, credits recoupments or offsets permissible under the Fair Labor Standards Act and/or

New York Labor Law

                                AS AND FOR AN ELEVENTH DEFENSE

           lI7. Plaintiff s retaliation claims are barred because she did not engage in any protected
activitv

                                 AS AND FOR A               FTH DE,F'ENSE

           1I   8. Plaintiff is exempt from the minimum wage and oveftime requirements of the Fair
Labor Standards Act and New York Labor Law because she was a highly compensated employee

and/or was employed in a bona fide executive and/or administrative role.




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                         AS AND FOR A                 IINTH DEF'F],NSE,

        119. All actions taken by Defendants with respect to Plaintiffs employment were
lawful, were made in good faith compliance with applicable provisions of law, rules and

regulations, and all actions were taken for legitimate non-discriminatory, non-retaliatory, non-

prohibited reasons.

                         AS AND FOR A FO               F],NTH DEF'ENSIT,

        I20. Plaintifls claims are barred in whole or in part because any employment decisions
regarding Plaintiff were based upon bona fide factors other than sex, gender or parlicipation in

protected activity under the statutes referenced in the Complaint herein.

                          AS AND FOR A                F],NTH DEFENSE,

        121. Plaintiff s claims are barred in whole or in part because of a failure to mitigate her
damages.

                          AS AND FOR A SIXTEENTH DBFENSE

        122. Plaintiff s claims are barred in whole or in part by the after-acquired evidence
doctrine

                        AS            R A SEVENTEENTH DEFENSE

        123. Defendants have maintained equal employment policies prohibiting harassment,
discrimination and/or retaliation and exercised reasonable care to prevent any alleged incidents,

and Plaintiff unreasonably failed to take advantage of available preventative or corrective

opportunities.




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                          AS AND FOR AN EIG HTEENTH DR,FE,NSE

        124. Any disparity in pay between Plaintiff and any other employee was justified based
upon (1) seniority; (2) a merit system; (3) apay system based on quantity or quality of output; or

(4) factors other than her sex.

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        125. Plaintiff cannot prevail on her claims under the Human Rights Law because the
behavior or conduct about which she complains constitutes nothing more than petty slights or

trivial inconveniences.

                           AS AND FOR A TWENTIETH DEFENSE

        126. Defendants reserve the right to asserl additional defenses upon fuilher information
regarding Plaintiff s claims and upon the development of other relevant information.

Dated: Hawthorne, New York
       January 21,2020

                                  TRAUB LIEBERMAN STRAUS & SHREWSBERRY LLP


                                  By

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                                       A t t or ney s for D efe ndant s
                                       Canal Productions, Inc. and Robert De Niro




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